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 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-08-306-EJG
                                  )
12                    Plaintiff, ) STIPULATION AND ORDER
                                  ) RESETTING STATUS CONFERENCE,
13                v.              ) AND EXCLUDING TIME UNDER THE
                                  ) SPEEDY TRIAL ACT
14   FERNANDO FLORES, et al.      )
                                  )
15                    Defendant. )
     _____________________________)
16
17         The United States of America, through its counsels of record,
18   Lawrence G. Brown, Acting United States Attorney for the Eastern
19   District of California, and Michael M. Beckwith, Assistant United
20   States Attorney, and defendant Fernando Flores, through his counsel
21   of record, Danny Brace, Jr., and defendant Brandon Coleman, through
22   his counsel of record, Caro Marks, hereby stipulate and agree that
23   the status conference set for March 13, 2009, be continued to April
24   3, 2009.
25         The parties need additional time for preparation.         Therefore,
26   the parties have agreed and respectfully request that the Court set
27   the date of April 3, 2009, for the status conference.
28   ///

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 1   Accordingly, the parties stipulate that time be excluded pursuant to
 2   18 U.S.C. § 3161(h)(8)(A) and Local Code T4 - additional time to
 3   prepare.
 4   IT IS SO STIPULATED.
 5                                              LAWRENCE G. BROWN
                                                Acting United States Attorney
 6
     Dated: March 11, 2009            By:       /s/ Michael M. Beckwith
 7                                              MICHAEL M. BECKWITH
                                                Assistant U.S. Attorney
 8                                              Attorney for Plaintiff
 9
10   DATED: March 11, 2009            By:       /s/ Danny D. Brace, Jr.
                                                DANNY D. BRACE
11                                              Attorney for Defendant
                                                FERNANDO FLORES
12
     DATED: March 11, 2009            By:       /s/ Caro Marks
13                                              CARO MARKS
                                                Attorney for Defendant
14                                              BRANDON COLEMAN
15   ________________________________________________________________
                                     ORDER
16
          UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
17
     hereby ordered that this matter be set for further status conference
18
     on April 3, 2009.
19
          The Court finds excludable time as set forth above to and
20
     including April 3, 2009.
21
          IT IS SO ORDERED.
22
     DATED: March 11, 2009                  /s/ Edward J. Garcia
23                                          __________________________
                                          HONORABLE EDWARD J. GARCIA
24                                        UNITED STATES DISTRICT COURT JUDGE
25
26
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